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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           JACKSON DIVISION


UNITED STATES OF AMERICA

V.                                    CRIMINAL NO. 3:09-cr-96(DCB)(LRA)

PEDRO DEWAYNE PHILLIPS


                                    ORDER

      This cause is before the Court on the defendant Pedro Dewayne

Phillips’ motion to file “Motion for Consideration of Further

Downward Departure” under seal (docket entry 88). Having carefully

considered the defendant’s motion, the Court finds that a response

by the government is necessary.          The defendant’s motion to file

under seal indicates that he has forwarded a copy of his “Motion

for Consideration of Further Downward Departure,” which he proposes

to file under seal, to the government.               The government shall

therefore file its response to the motion to file under seal,

before proceeding further on the underlying motion, within ten (10)

days from the date of entry of this Order.            Said response by the

government shall be filed under seal without prejudice to any

application to unseal the response.

      The Court notes that the document which the clerk filed as a

motion to file under seal does not contain any reasons to file the

underlying motion under seal; however, the underlying motion itself

contains facts which could be construed as proffered reasons to

file the motion under seal, and these should be addressed by the
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government.   Accordingly,

     IT IS HEREBY ORDERED that the government file a response to

the defendant Pedro Dewayne Phillips’ motion to file “Motion for

Consideration of Further Downward Departure” under seal (docket

entry 88) within ten (10) days from the date of entry of this

Order.

     SO ORDERED, this the 21st day of January, 2011.



                                        /s/ David Bramlette
                                        UNITED STATES DISTRICT JUDGE




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